     Case 5:17-cr-00018-LGW-BWC Document 203 Filed 12/31/20 Page 1 of 1

                                                                                               FILED
                                                                                    John E. Triplett, Acting Clerk
                                                                                     United States District Court


                          UNITED STATES DISTRICT COURT                           By CAsbell at 8:46 am, Dec 31, 2020

                          SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION

 UNITED STATES OF AMERICA                   )              5:17-cr-00018
                                            )
                                            )
             v.                             )
                                            )
                                            )
      ALEX PLUMB                            )


                                       ORDER

      Upon motion of the Government, IT IS HEREBY ORDERED that Julia Kays

be substituted as a restitution payee for original victim Patricia Risk in the

captioned case.

      IT IS FURTHER ORDERED that all restitution payments due to "Patricia

Risk" be made payable to “Julia Kays” and mailed to the address currently on

record for this victim.



      IT IS SO ORDERED, this 31st day of December, 2020.



                                 ____________________________________________
                                 HONORABLE LISA GODBEY WOOD, JUDGE
                                 UNITED STATE DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
